Case 1:20-cv-00048-HCN-DAO Document 65 Filed 08/25/22 PageID.462 Page 1 of 21




 Michael W. Young, USB 12282
 Lauren Hunt, USB 14682
 PARSONS BEHLE & LATIMER
 201 South Main Street, Suite 1800
 Salt Lake City, Utah 84111
 Telephone: 801.532.1234
 Facsimile: 801.536.6111
 MYoung@parsonsbehle.com
 LHunt@parsonsbehle.com

 Attorneys for Plaintiff Jane Doe 1


                     IN THE UNITED STATES DISTRICT COURT FOR THE

                        DISTRICT OF UTAH, NORTHERN DIVISION


  JANE DOE 1                               PLAINTIFF’S MOTION FOR LEAVE TO
                                           FILE THIRD AMENDED COMPLAINT
          Plaintiff,
                                           Case No. 1:20-cv-00048-HCN-DAO
  vs.
                                           Judge Howard C. Nielson, Jr.
  OGDEN CITY SCHOOL DISTRICT,
                                           Magistrate Judge Daphne A. Oberg
          Defendant.




 4895-5949-2654.v2
Case 1:20-cv-00048-HCN-DAO Document 65 Filed 08/25/22 PageID.463 Page 2 of 21




                                                    TABLE OF CONTENTS

 INTRODUCTION .......................................................................................................................... 1

 STATEMENT OF RELIEF REQUESTED AND GROUNDS THEREFOR ................................ 1

 RELEVANT FACTS ...................................................................................................................... 2

 ARGUMENT .................................................................................................................................. 7

 I.        PLAINTIFF’S THIRD AMENDED COMPLAINT SATISFIES RULE 15 OF
           THE FEDERAL RULES OF CIVIL PROCEDURE.......................................................... 7

           A.         The Amendment is timely....................................................................................... 8

           B.         There is no harm of undue prejudice to Defendant................................................. 8

           C.         The Amendment is justified. ................................................................................... 9

           D.         Amendment is consistent with the purposes of Rule 15. ...................................... 16

 II.       GOOD CAUSE EXISTS UNDER RULE 16 FOR PLAINTIFF’S THIRD
           AMENDED COMPLAINT. ............................................................................................. 17

 CONCLUSION ............................................................................................................................. 18




                                                                       i
 4895-5949-2654.v2
Case 1:20-cv-00048-HCN-DAO Document 65 Filed 08/25/22 PageID.464 Page 3 of 21




                                         INTRODUCTION

         Plaintiff respectfully requests leave to file her proposed Third Amended Complaint

 (attached hereto as Exhibit 1). Plaintiff recently discovered new facts and admissions during

 depositions last month that give rise to substantive claims under 42 U.S.C. § 1983. Specifically,

 Plaintiff recently discovered that Ogden School District was aware of and did nothing in response

 to three separate instances of sexual grooming and abuse occurring in Ogden School District prior

 to her own victimization.

         Plaintiff realizes that this matter has been ongoing and that unavoidable delays due to

 Covid-19 have significantly prolonged the timeline. More critically, however, because Defendant

 has continuously failed to provide full responsive answers and documents to Plaintiff’s discovery

 requests, the factual basis for her new proposed claims were not determined or supported until a

 central deposition taken just last month. Ms. Bennington, H.R. Director for the District, admitted

 in her deposition that in the wake of three teachers within the District sexually grooming and/or

 assaulting their students prior to Plaintiff’s similar abuse, the District took no steps to update its

 policies, procedures, or training regarding appropriate boundaries and grooming. This failure

 exposes the District to, and gives Plaintiff substantive rights under, 42 U.S.C. § 1983.

         Because Plaintiff’s request meets the requirements of both Fed R. Civ. P. 15 and 16, she

 respectfully asks this Court leave to file her proposed Third Amended Complaint.

           STATEMENT OF RELIEF REQUESTED AND GROUNDS THEREFOR

         Plaintiff requests leave from this Court to amend her Complaint to add three causes of

 action under 42 U.S.C. § 1983 for Municipal Policy or Custom, Municipal Failure to Train or

 Supervise, and State-Created Danger. Plaintiff’s proposed Amendment is timely, does not


                                                   1
 4895-5949-2654.v2
Case 1:20-cv-00048-HCN-DAO Document 65 Filed 08/25/22 PageID.465 Page 4 of 21




 prejudice Defendant, and is justified. Further, Good cause for this amendment exists because the

 information that forms the basis for Plaintiff’s § 1983 claims was just recently discovered at a July

 26, 2022 deposition.

                                            RELEVANT FACTS

         1.          Plaintiff filed her original complaint in the Second District Court for Weber County,

 State of Utah on April 13, 2020. See Complaint, Jane Does 1 and 2 v. Ogden City School District,

 Case No. 200902241 (2d Dist. Utah Apr. 13, 2020).

         2.          The case was ultimately removed to this court and Plaintiff filed the Second

 Amended Complaint on March 10, 2021. (ECF No. 35.)

         3.          The original scheduling order in this case required the parties to amend their

 pleadings by June 1, 2021. (See Scheduling Order, ECF No. 42.)

         4.          The original scheduling order also provided that fact discovery would close on

 November 30, 2021. (Id.)

         5.          The parties stipulated to amend the scheduling order four additional times, with the

 most recent Order providing for a fact discovery deadline of October 11, 2022. (See Fourth

 Amended Scheduling Order, ECF No. 59.)

         6.          Discovery regarding the District’s relevant policies and procedures has been

 particularly protracted in this matter. Plaintiff first requested the District’s Policies and Procedures

 in her First Set of Discovery Requests served on the District on June 14, 2021. (See Plaintiff’s First

 Set of Discovery Requests, June 14, 2021, attached as Exhibit 2) This request not only asked for

 the relevant Policies and Procedures, but specifically asked for any “past iterations of said Policies

 and Procedures.” Id. The District first responded to this request by directing Plaintiff to a


                                                       2
 4895-5949-2654.v2
Case 1:20-cv-00048-HCN-DAO Document 65 Filed 08/25/22 PageID.466 Page 5 of 21




 previously produced version of the Policies and Procedures in its Initial Disclosures and further

 indicated that “[a]dditional policies will be produced at a time mutually convenient to the parties.”

 (See Defendant’s Response to Plaintiff’s First Set of Discovery Requests, July 12, 2021, attached

 as Exhibit 3.)

         7.          Ultimately, the District did not complete its production of documents responsive to

 Plaintiff’s First Set of Discovery Requests until February 4, 2022 (See Letters from Kyle J. Kaiser

 dated July 26, 2021, August 2, 2021, December 21, 2021, and February 4, 2022, attached as Exhibit

 4.)

         8.          Critically, the District’s responses to Plaintiff’s First Set of Discovery Requests and

 attendant production of documents did not provide a complete picture as to what policies and

 procedures were in effect at what time. In an effort to establish clarity on the issue, Plaintiff served

 the Defendant with her Third Set of Discovery Requests:

                     Interrogatory No. 11: Identify and describe in detail any remedial
                     steps taken or policies enacted in the District after three District
                     teachers (Liza Roberts in 2012, an unidentified teacher allowed to
                     resign in 2014, and James Davenport in 2015) were reported and/or
                     criminally charged for the sexual grooming and/or assault upon
                     students. For each policy, procedure, or practice identified, provide
                     the date the policy, procedure, or practice was implemented and, if
                     applicable, the date it was terminated. If any policy, procedure, or
                     practice varies on a case-by-case basis, please explain what factors
                     influence the application of that policy, procedure, or practice.

 (See Plaintiffs Third Set of Discovery Requests, April 6, 2022, attached as Exhibit 5.) In response

 to this interrogatory, Defendant again failed to provide a complete response and, instead, indicated

 that it did not have any records from before 2018 but that it did not believe there were any policy

 changes following the Davenport incident in 2015. The District did not address what, if any, policy



                                                       3
 4895-5949-2654.v2
Case 1:20-cv-00048-HCN-DAO Document 65 Filed 08/25/22 PageID.467 Page 6 of 21




 changes were made after the 2012 incident. (Defendant’s Response to Plaintiff’s Third Set of

 Discovery Requests, June 6, 2022, attached as Exhibit 6.)

         9.          The District’s responses to Plaintiff’s First Set of Discovery Requests and attendant

 production of documents also did not provide a complete picture of the training implemented by

 the District before and after Plaintiff’s assault. Specifically, Plaintiff served an interrogatory which

 read:

                     Interrogatory No. 2: Describe with reasonable particularity the
                     process for vetting, hiring, and training Your teachers, including but
                     not limited to background checks, employee handbooks, security
                     training, sexual harassment training, and protocol for incident
                     reporting.

 (See Exhibit 2). Defendants’ response indicated that prior to 2018, incoming teachers would meet

 with the HR office “to walk through the policies of the Ogden School District Board of Education

 and the Utah State Board of Education, which were given to teachers in hard-copy form.” (See

 Defendant’s Response to Plaintiff’s First Set of Discovery Requests, July 12, 2021, Exhibit 3).

 The Response also indicated that additional training and policy review occurred at in-person

 faculty meetings held at the beginning of each school year. Id. Finally, Defendants clarified that

 “[t]eachers receive further training from their school’s principal on school-specific issues.

 Principals can create employee handbooks for their school, which can include policies of the

 Ogden School District Board of Education, procedural trainings, and other items at the discretion

 of the principal.” Id.

         Defendant later provided training materials from Jessica Bennington, the District’s Human

 Resources Director and Bryan Becherini, the former principal of Mound Fort Junior High School

 (the school at which Tutt worked). (See Letter from Kyle Kaiser dated August 2, 2021, included


                                                       4
 4895-5949-2654.v2
Case 1:20-cv-00048-HCN-DAO Document 65 Filed 08/25/22 PageID.468 Page 7 of 21




 in Exhibit 4). Ms. Bennington’s training included a video about appropriate boundaries between

 students and teachers but did not specify when this training was created. Mr. Becherini’s materials

 appear to be from the 2019 school year.

         10.         Plaintiff deposed Ogden School District’s Human Resources Director, Jessica

 Bennington, on July 26, 2022. (See generally Deposition of Jessica Bennington (“Bennington

 Dep.”), relevant excerpts of which are attached hereto as Exhibit 7.)

         11.         In her deposition, Ms. Bennington was unable to pinpoint which version of the

 District’s Title IX Discrimination and Harassment policies was in place during Tutt’s employment.

 (Id. at pp.135–139.) Indeed, this remains a point of issue and the Bennington deposition was

 continued so that the District could try and establish a final position as to what Policies and

 Procedures were in place at the time of the underlying incident—all of this after Plaintiff has sought

 this information for more than a year.

         12.         Ms. Bennington did, however, confirmed in her deposition that no substantive

policy changes occurred in the district in response to three known instances of adult sexual

misconduct with students. (Id. at 222:12-223:13.)

         13.         Ms. Bennington also explained that employee and educator training is mandated by

 the state of Utah and rarely includes programming created by individual districts. (Id. at 68:6-12.)

 Ms. Bennington also confirmed that the District generally relies on the State’s ethics training

 without offering more to unlicensed educators (like Tutt) in the District. (Id. at 48:17-18; 71:22-

 25.) According to Ms. Bennington, any training given to teachers happens at the beginning of the

 school year, and the content of that training remains largely the same year over year. (Id. at 100:17-




                                                     5
 4895-5949-2654.v2
Case 1:20-cv-00048-HCN-DAO Document 65 Filed 08/25/22 PageID.469 Page 8 of 21




 101:5.) The District’s response to Interrogatory number 2 (discussed above at ¶ 9) failed to clarify

 the role the District takes in creating its training materials.

         14.         Ms. Bennington also confirmed in her deposition that the training video provided

by the District and referenced above at ¶ 9 was created in 2018. (Bennington Dep. at 193:4-5.) Ms.

Bennington indicated the content of that training was developed by the State’s risk management

department. (Id. at 193:13-18.) This training is now part of what the District requires its employees

to review annually. (Id. at 193:8-12.)

         15.         Ms. Bennington conceded that although the District and the State of Utah had

policies in place requiring the District to investigate and report all boundary violations like those

undertaken by Tutt, the District did not report Tutt after first learning of his inappropriate late-night

text messages and Snapchats with Plaintiff because the District did not have “reasonable suspicion

for an inappropriate relationship.” (Id. at 161:21-24; 165:25-166:8.)

         16.         After receiving the District’s response to Interrogatory No. 2 (discussed above at ¶

9), Plaintiff also deposed a former principal at Mound Fort Junior High, Charlotte Della Parry, on

July 27, 2022. During Ms. Parry’s deposition, she revealed that the District did not train its teachers

or employees on appropriate uses of cell phones and social media between employees and students

in the time period before a Mound Fort teacher sexually groomed and assaulted a young man in

2012. See Deposition of Charlotte Della Parry (“Parry Dep.”), true and correct excerpts from which

are attached hereto as Exhibit 8, at 25:14-26:2.

         17.         Plaintiff still waiting to take or conclude the depositions of at least six individuals,

including Ms. Bennington and the 30(b)(6).




                                                        6
 4895-5949-2654.v2
Case 1:20-cv-00048-HCN-DAO Document 65 Filed 08/25/22 PageID.470 Page 9 of 21




                                           ARGUMENT

         As Plaintiff’s request falls outside the deadline to amend pleadings in the scheduling order,

 she must demonstrate both that the requirements for amendment under Rule 15 are satisfied and

 that good cause for the amendment exists under Rule 16. Adler v. All Hours Plumbing Drain

 Cleaning 24-7-365, No. 2:21-CV-00141, 2022 WL 2077953, at *2 (D. Utah June 9, 2022). Where

 Plaintiff’s request to amend is not the result of undue delay, will not significantly prejudice

 Defendant, and is justified, Plaintiff’s requested relief satisfies Rule 15’s liberal requirements.

 Further, where Plaintiff can demonstrate that the facts underlying the new causes of action in her

 Proposed Third Amended Complaint were only recently discovered during a deposition, Plaintiff

 can demonstrate good cause for the Amendment under Rule 16. Accordingly, this Court should

 grant Plaintiff’s requested leave to file the proposed Third Amended Complaint.

 I.      PLAINTIFF’S THIRD AMENDED COMPLAINT SATISFIES RULE 15 OF THE
         FEDERAL RULES OF CIVIL PROCEDURE.

         Under Rule 15 of the Federal Rules of Civil Procedure, “a party may amend its pleading

 only with the opposing party’s written consent or the court’s leave. The court should freely give

 leave when justice so requires.” Fed. R. Civ. P. 15(a)(2). “The grant of leave to amend the

 pleadings pursuant to Fed. R. Civ. P. 15(a) is within the discretion of the trial court.” Castleglen,

 Inc. v. Resolution Tr. Corp., 984 F.2d 1571, 1584 (10th Cir. 1993). “The purpose of [Rule 15(a) is

 to provide litigants ‘the maximum opportunity for each claim to be decided on its merits rather

 than on procedural niceties.’” Minter v. Prime Equip. Co., 451 F.3d 1196, 1204 (10th Cir. 2006)

 (citation omitted). “Refusing leave to amend is generally only justified upon a showing of undue

 delay, undue prejudice to the opposing party, bad faith or dilatory motive, failure to cure

 deficiencies by amendments previously allowed, or futility of amendment.” Sinclair Wyoming Ref.

                                                  7
 4895-5949-2654.v2
Case 1:20-cv-00048-HCN-DAO Document 65 Filed 08/25/22 PageID.471 Page 10 of 21




 Co. v. A & B Builders, Ltd., 989 F.3d 747, 777 (10th Cir. 2021) (quoting Bylin v. Billings, 568

 F.3d 1224, 1229 (10th Cir. 2009)).

         A.          The Amendment is timely.

         “Motions to amend are typically deemed untimely when they are filed in the advanced

 procedural stages of the litigation process, such as after the completion of discovery, on the eve of

 a scheduled trial date, after an order of dismissal has already been entered, or where the motion is

 filed ‘several years into the litigation.’” Evans v. B&E Pace Inv. LLC, 2018 UT App 37 at ¶17.

 While the original Complaint was filed in 2020, delays outside the parties’ control due to Covid-

 19 have prolonged the timeline in this matter. More critically, Defendant’s failure to fully respond

 to Plaintiff’s discovery requests regarding the District’s policies and procedures directly impacted

 Plaintiff’s ability to ascertain facts relevant to the Amendment. Plaintiff only recently discovered

 the basis for her three requested additional causes of action during depositions taken last month

 and is still waiting on clarification from the District about what policies were in place at what time.

 Finally, Plaintiff has only deposed a fraction of the individuals it plans to depose in this matter,

 and fact discovery is not currently set to end until October 11. (ECF No. 59). Expert discovery

 has not yet begun, and no trial is set. This Court should therefore conclude that the timeliness

 factor weights in favor of granting leave to amend.

         B.          There is no harm of undue prejudice to Defendant.

         A showing of “simple prejudice” is not enough to warrant denial of a Rule 15 Motion.

 Evans, supra, at ¶18. “Instead, for this factor to support denial of the motion, the nonmoving party

 must suffer ‘undue or substantial prejudice’ that is ‘unavoidable.’” Id. “The key to this part of the

 inquiry is whether the opposing side has “no time to prepare” for the amended pleading. Id. If


                                                   8
 4895-5949-2654.v2
Case 1:20-cv-00048-HCN-DAO Document 65 Filed 08/25/22 PageID.472 Page 11 of 21




 prejudice can be avoided “with a reasonable, brief, and targeted extension of the fact discovery

 cutoff date,” the motion for leave should be granted. Id.

         Plaintiff’s proposed additional causes of action all stem from policies enacted or actions

 taken by the District in the wake of three teachers prior to Tutt who had been caught sexually

 grooming and/or assaulting their students within the District. The history of the District’s policies

 and procedures surrounding boundaries between teachers and students have been the topic of

 discovery since Plaintiff’s first requests. Plaintiff’s proposed Amendment does not expand the

 scope of existing discovery, particularly for Defendant. Defendant would not have to take any

 additional depositions beyond those already scheduled to prepare for the Amendment. The

 Amendment will not delay the current scheduling order beyond the time necessary for the District

 to file its Answer. Finally, Plaintiff only recently discovered the facts substantiating her new claims

 because Defendant failed to fully respond to discovery requests; to deny her the ability to amend

 under a finding of substantial prejudice to Defendant would be more than somewhat ironic.

         C.          The Amendment is justified.

         The factor of justification deals with why the moving party did not move earlier to amend

 its pleading. Where “the party knew of the events or claims earlier yet failed to plead them due to

 a dilatory motive, a bad faith effort during the pleading process, or unreasonable neglect in terms

 of pleading preparation,” the amendment may not be justified. Evans, supra, at ¶19.

         The general basis for applying § 1983 liability to Defendants was recently revealed in

 depositions taken last month. Accordingly, no dilatory motive exists to deny Plaintiff’s Motion.

 See Combs v. PriceWaterhouse Coopers LLP, 382 F.3d 1196, 1206 (10th Cir. 2004); Brush v.




                                                   9
 4895-5949-2654.v2
Case 1:20-cv-00048-HCN-DAO Document 65 Filed 08/25/22 PageID.473 Page 12 of 21




 Rinne, 69 F.3d 547 (10th Cir. 1995) (suggesting that discovery of new evidence unavailable at the

 time of the original filing could serve as a basis for amending a complaint).

                     1.   The Facts of the District’s Liability Under § 1983 Were Uncovered
                          During Recent Depositions.

         Plaintiff intends to add causes of action to her complaint against the District under two

 theories created in Monell v. Dep’t of Soc. Servs., 436 U.S. 658, 98 S. Ct. 2018, 56 L.Ed. 2d 611

 (1978): 1) “an informal custom[,]” that, while not expressly authorized, “is so permanent and well

 settled” it “constitute[s] a custom or usage with the force of law;” and 2) a “failure to adequately

 train or supervise employees, so long as that failure results from ‘deliberate indifference’ to the

 injuries that may be caused.” Brammer-Hoelter v. Twin Peaks Charter Acad., 602 F.3d 1175,

 1189-90 (10th Cir. 2010); Bryson v. City of Okla. City, 627 F.3d 784, 788 (10th Cir. 2010). Plaintiff

 also intends to bring an alternative claim under the “state-created danger” test under § 1983, under

 which state officials can be liable for the acts of third parties where those officials ‘created the

 danger’ that caused the harm.” Marino v. Mayger, 118 Fed. App'x. 393, 401 (10th Cir. 2004).

                          a.    Monell Liability

         In Monell, the Supreme Court held that municipalities can be liable under § 1983 for

 damages when the municipality inflicts constitutional injury through a “policy or custom, whether

 made by its lawmakers or by those whose edicts or acts may fairly be said to represent official

 policy.” Monell, 436 U.S. 658, at 694. Such a policy or custom may include what is, in effect, a

 “policy of inaction” in the face of knowledge that municipal actors are routinely violating a specific

 constitutional right, thus becoming “the functional equivalent of a decision by the [municipality]

 itself to violate the Constitution.” Connick v. Thompson, 563 U.S. 51, 61-62, 131 S. Ct. 1350, 179

 L. Ed. 2d 417 (2011) (internal quotation marks omitted); see also Monell, 436 U.S. at 690-91

                                                   10
 4895-5949-2654.v2
Case 1:20-cv-00048-HCN-DAO Document 65 Filed 08/25/22 PageID.474 Page 13 of 21




 (discussing § 1983’s application to “customs and usages,” not just formally adopted policies and

 practices). As explained in detail below, Plaintiff was unaware of several facts relevant to these

 causes of action until the depositions of Ms. Bennington and Ms. Parry. Upon discovering the

 relevant information, Plaintiff recognized the need to amend her Complaint, and requests that this

 Court allow her to do so.

         Under the “municipal policy or custom” theory, Plaintiff will show that the District’s

 failure to respond to several documented instances of teachers sexual grooming and/or assaulting

 students by neglecting to implement or update relevant policies and procedures demonstrated to

 perpetrators that such behavior was tolerated or condoned, and that the District’s actions (or

 inactions) caused Plaintiff harm. To prove the municipal policy or custom theory, plaintiffs

 generally rely on instances where the district failed to investigate, reprimand, or otherwise

 appropriately respond to violations. Cordova v. Aragon, 569 F.3d 1183, 1194 (10th Cir. 2009).

 Plaintiffs also generally rely on conduct such as failing to discipline or failing to safeguard against

 a known danger to establish an unwritten policy or custom for purposes of § 1983. Gates v. Unified

 Sch. Dist. No. 449, 996 F.2d 1035, 1037 (10th Cir. 1993).

         The District has a documented history of boundary violations on the part of employed

 schoolteachers resulting in sexual grooming and sexual abuse of students. See Proposed Third

 Amended Complaint at ¶¶ 76-79. The grooming and assaults in the District dating back to 2012

 have been general public knowledge since they occurred.1 Prior to Ms. Bennington’s deposition,



 1 See, e.g., Pat Reavy, Ogden junior high teacher charged with ‘sexting’ teen student, DESERETNEWS.COM (Nov. 7,
 2012), https://www.deseret.com/2012/11/7/20509377/ogden-junior-high-teacher-charged-with-sexting-teen-student;
 Cimaron Neugebauer, Ogden teacher resigns after sending ‘inappropriate’ messages to student, Standard-Examiner
 (Apr. 15, 2014), https://www.standard.net/news/local/2014/apr/15/ogden-teacher-resigns-after-sending-
 inappropriate-messages-to-student/.

                                                       11
 4895-5949-2654.v2
Case 1:20-cv-00048-HCN-DAO Document 65 Filed 08/25/22 PageID.475 Page 14 of 21




 however, the only information in Plaintiff’s possession regarding remedial measures following the

 prior incidents were delayed, vague, and incomplete responses found in Defendant’s discovery

 responses. SOF ¶¶ 6-8.

         Plaintiff directly asked for clarification on what policy changes were made and when. SOF

 ¶ 8. Even then, Defendant failed to fully comply with the discovery request in providing

 Defendant’s Amended Response to Plaintiff’s Third Set of Discovery Requests at Interrogatory

 No. 11 on June 6, 2022. Id. Specifically, that interrogatory sought clarification as to what, if

 anything, Defendant did in light of the previously documented incidents of sexual grooming and

 abuse within the District. Id. The District did not provide a complete answer to the interrogatory.

 Id. Instead, the District conceded that it was not aware of any changes following one of the three

 incidents (that took place in 2015), and then outlined training that now occurs following Plaintiff’s

 incident. Id. The District did not address what, if any, policy changes were made after the earliest

 incident in 2012. It was not until Plaintiff deposed Ms. Bennington that she became aware that the

 District took no action to modify, update, or change its policies or training materials following

 those incidents, thus creating an environment that tolerated and condoned such behavior and failed

 to safeguard students like Plaintiff from such behavior. SOF ¶ 12.

         Specifically, during Ms. Bennington’s deposition, she revealed that the District’s relevant

 policies were not revised after Liza Roberts purchased a cell phone for a student and began sending

 him nude photos and sexually explicit messages in 2012. SOF ¶ 12; see also DesertNews.com

 article referenced supra at note 1. Likewise, Ms. Bennington confirmed that no District policies

 were updated after an anonymous teacher resigned because it was discovered that he sent

 inappropriate messages to a student, nor were any policies updated after Justin Davenport was


                                                  12
 4895-5949-2654.v2
Case 1:20-cv-00048-HCN-DAO Document 65 Filed 08/25/22 PageID.476 Page 15 of 21




 charged with the rape, forcible sodomy, and forceable sex abuse of a student who had been his

 teacher’s assistant and with whom he frequently ate lunch alone. SOF ¶ 12.

         Plaintiff also learned that employee and educator training is mandated by the state of Utah

 and rarely includes programming created by individual districts. SOF ¶ 13. Further, Ms.

 Bennington confirmed that the District generally relies on the State’s ethics training, without

 offering more to unlicensed educators (like Tutt) in the District. Id. According to Ms. Bennington,

 any training given to teachers happens at the beginning of the school year, and the content of that

 training remains largely the same year over year. Id. Finally, the training that now appears to be in

 place related to boundary violations was 1) not implemented until 2018, and 2) created by the State

 of Utah, not the District. SOF ¶ 14. Given the number of documented incidents in the District,

 which all resulted from similar sexual grooming behavior, the failure of the District to both follow

 current state policy and implement additional training and supervision of employees after three

 documented incidents of boundary violations and sexual assault, exposes it to additional liability

 under § 1983 that was not previously known to Plaintiff.

         Plaintiff also learned during the Parry deposition that Mound Fort Junior High did not train

 employees or students on appropriate social media contact prior to the 2012 incident. SOF ¶ 16

 Defendants’ Response to Plaintiff’s Interrogatory No. 2, as described at SOF ¶ 9, indicated that

 prior to 2018, incoming teachers would meet with the HR office “to walk through the policies of

 the Ogden School District Board of Education and the Utah State Board of Education, which were

 given to teachers in hard-copy form.” SOF ¶ 9. The Response also indicated that additional training

 and policy review occurred at in-person faculty meetings held at the beginning of each school year.

 Id. Further, the Response indicated that “Teachers receive further training from their school’s


                                                  13
 4895-5949-2654.v2
Case 1:20-cv-00048-HCN-DAO Document 65 Filed 08/25/22 PageID.477 Page 16 of 21




 principal on school-specific issues. Principals can create employee handbooks for their school,

 which can include policies of the Ogden School District Board of Education, procedural trainings,

 and other items at the discretion of the principal.” Id. Of course what the individual schools could

 do versus what was done at Plaintiff’s school are two different things. The District only provided

 the content of such Principal-created trainings from Principal Becherini, thus requiring Plaintiff to

 depose additional District Principals to determine whether additional relevant trainings occurred.

 Id. Plaintiff has only deposed one of these Principals so far, with more depositions pending.

         Under her proposed causes of action under § 1983 Monell liability, Plaintiff must

 demonstrate that the District’s failure to take action created an environment that appeared to

 abusers like Tutt to condone or tolerate boundary-crossing behavior, and that the District’s failure

 to update its policies or training caused her harm. Despite the numerous instances of obvious

 boundary violations that ultimately led to sexual assault, the District took no steps to modify its

 relevant policies to address the District’s issues and safeguard its students, a fact that was unclear

 to Plaintiff until Ms. Bennington’s deposition. Id. Publicly available news articles and half-

 answers to discovery requests were simply insufficient to bring a cause of action under the relevant

 pleading requirements until Ms. Bennington’s and Ms. Parry’s admissions. See Hall v. Witteman,

 584 F.3d 859, 863 (10th Cir. 2009) (a complaint must provide sufficient supporting facts—not just

 potential legal theories—in order to be facially plausible). As soon as Plaintiff was aware of the

 necessary facts to support her new causes of action, she raised as much with opposing counsel.

                        b.      State-Created Danger

         As an alternative to the Monell claims, which require a showing that the abuser was a state

 actor, Plaintiff also desires to add a cause of action for State-Created Danger under § 1983 to her


                                                  14
 4895-5949-2654.v2
Case 1:20-cv-00048-HCN-DAO Document 65 Filed 08/25/22 PageID.478 Page 17 of 21




 Complaint. To state a claim under this theory, Plaintiff must demonstrate (1) [d]efendants “created

 the danger or increased [the plaintiff’s] vulnerability to the danger in some way;” (2) [the [plaintiff]

 “was a member of a limited and specifically definable group; (3) defendants’ conduct put [the

 plaintiff] at substantial risk of serious, immediate, and proximate harm; (4) the risk was obvious

 or known; (5) defendants acted recklessly in conscious disregard of that risk; and (6) such conduct,

 when viewed in total, is conscience shocking.” Christiansen v. City of Tulsa, 332 F.3d 1270, 1281

 (10th Cir. 2003). A municipality can increase a plaintiff’s vulnerability to the danger by

 “knowingly maintaining a custom or practice. . .[of neglecting requirements of] municipal policy

 and/or state statute. Rall v. Hobbs Mun. Sch. Dist., No. CIV 15-0518 RB/CG, 2016 U.S. Dist.

 LEXIS 189223, at *39 (D.N.M. Mar. 16, 2016) (finding that a school district’s practice of violating

 a state policy was “conscious-shocking”).

         Plaintiff also discovered during Ms. Bennington’s deposition the extent of the District’s

 failure to abide by its own municipal and state policies for addressing concerns and reports of

 boundary violations by teachers. Ms. Bennington revealed in her deposition that although the

 District and the State of Utah had policies in place requiring them to investigate and report all

 boundary violations, the District decided not to report Tutt after first learning of his inappropriate

 late-night text messages and Snapchats with Plaintiff because the District did not have “reasonable

 suspicion for an inappropriate relationship.” SOF ¶ 15. Plaintiff’s discovery of the District’s

 unwillingness to update its policies or training following three documented incidents of sexual

 grooming and boundary violations—coupled with its failure to investigate Mr. Tutt’s documented

 boundary violation, based on a decision that was both contrary to District policy and state law and




                                                   15
 4895-5949-2654.v2
Case 1:20-cv-00048-HCN-DAO Document 65 Filed 08/25/22 PageID.479 Page 18 of 21




 made despite knowledge of the three prior incidents—makes the District’s actions even more

 “conscience shocking” than originally contemplated.

         Plaintiff could not have moved to amend any earlier before solidifying the facts determined

 at the depositions of Ms. Bennington and Ms. Parry. In fact, Plaintiff did not even wait until the

 conclusion of Ms. Bennington’s deposition, which had to be extended in part because the District

 must clarify its timeline of policies, to move to amend. Plaintiff seeks this Amendment at the

 earliest possible time she could under good faith.

         D.          Amendment is consistent with the purposes of Rule 15.

         Further, Rule 15 expressly allows parties to amend pleadings to conform to the evidence

 during and after trial, when doing so will aid in presenting the merits of a case. Fed. R. Civ. P.

 15(b). It would make little sense to require Plaintiff to wait until trial to move to amend her

 Complaint to conform to evidence that Defendant has provided without objection and that will be

 presented at trial. See Ex 6 at p. 13 (indicating the District had no objections to discovery

 concerning remedial steps taken after the three prior incidents); see also Exhibit 7, Bennington

 Dep. at pp. 221-223 (discussing the relevant evidence of remedial measures without objection from

 Defendant’s counsel).

         To deny Plaintiff the ability to amend her Complaint to add claims about which she just

 learned, and to require her instead to file a new lawsuit and then move to consolidate the cases

 based on mere technicalities in a scheduling order, would be manifestly unjust and would fly in

 the face of judicial efficiency. See Travelers Indem. Co. v. U.S., for Use of Constr. Specialties Co.,

 382 F.2d 103, 106 (10th Cir. 1967) (“The ends of justice are not served when forfeiture of just




                                                  16
 4895-5949-2654.v2
Case 1:20-cv-00048-HCN-DAO Document 65 Filed 08/25/22 PageID.480 Page 19 of 21




 claims because of technical rules is allowed”).2 Indeed, a guiding principle of the Federal Rules of

 Civil Procedure is to ensure efficiency by providing mechanisms whereby related facts and

 theories are tried in the same suit. See, e.g., Fed. R. Civ. P. 13; 14; 15; 16, 18, 19; 20; 24; 42; see

 also Dussouy v. Gulf Coast Inv. Corp., 660 F.2d 594, 598 (5th Cir. 1981) (“The policy of the

 federal rules is to permit liberal amendment to facilitate determination of claims on the merits and

 to prevent litigation from becoming a technical exercise in the fine points of pleading.”); United

 Mine Workers of Am. v. Gibbs, 383 U.S. 715, 724, 86 S. Ct. 1130, 1138, 16 L. Ed. 2d 218 (1966)

 (“Under the Rules, the impulse is toward entertaining the broadest possible scope of action

 consistent with fairness to the parties; joinder of claims, parties, and remedies is strongly

 encouraged.”) The rules contemplate and expect amendments of newly discovered causes of action

 to a case when appropriate, and the District’s decision to deny Plaintiff’s request to amend based

 on technicalities is inconsistent with the policy behind the Federal Rules.

          Because Plaintiff’s request is timely, does not prejudice Defendant, and is justified,

 Plaintiff’s proposed Amendment meets the requirements of Rule 15.

 II.      GOOD CAUSE EXISTS UNDER RULE 16 FOR PLAINTIFF’S THIRD AMENDED
          COMPLAINT.

          Pursuant Rule 16(b)(4) of the Federal Rules of Civil Procedure, “the court may extend the

 deadlines in a scheduling order if the movant is able to demonstrate ‘good cause’ for that




 2 It is unclear why opposing counsel has refused to stipulate for leave to simply amend the underlying complaint to
 include claims arising from the same transaction and occurrence as contemplated by Rule 18 of the Federal Rules of
 Civil Procedure. One might cynically ask if the intent is to force Plaintiff to file a separate action, then move to
 consolidate under Rule 42 of the Federal Rules of Civil Procedure in an effort to further delay Plaintiff from receiving
 her day in court; or worse, to later seek to dismiss such claims under claim preclusion arguing they should have been
 brought in this case. Procedural gamesmanship has no place in the adjudication of Plaintiff’s substantive rights,
 particularly when the District has failed to fully respond to the discovery requests that would have provided Plaintiff
 the relevant information more than a year ago.

                                                           17
 4895-5949-2654.v2
Case 1:20-cv-00048-HCN-DAO Document 65 Filed 08/25/22 PageID.481 Page 20 of 21




 modification.” F.R.C.P. 16(b)(4). A showing of good cause “requires the movant to establish that

 the scheduling deadlines could not be met despite the movant’s diligent efforts.” Adler, 2022 WL

 2077953, at *2 (internal quotations omitted); see also Gorsuch, Ltd., B.C. v. Wells Fargo Nat.

 Bank Ass’n, 771 F.3d 1230, 1241 (10th Cir. 2014) (“parties seeking to amend their complaints

 after a scheduling order deadline must establish good cause for doing so”). “Examples of good

 cause include when the moving party learns new information through discovery or where the

 underlying law has changed.” Adler, 2022 WL 2077953 at *2 (internal quotations omitted).

         Here, as argued, Plaintiff discovered alarming facts concerning the District’s policy or

 custom of failing to address and investigate boundary violations of teachers that were proven to

 lead to sexual abuse, which existed as early as 2012 when Liza Roberts sexually assaulted a student

 at Mound Fort Junior High School within the District. These discoveries manifest additional

 liability for Defendant under § 1983. Plaintiff was previously unaware of the extent of the District’s

 inaction, and is still awaiting depositions that will provide further information about the District’s

 policies. Accordingly, good cause for granting Plaintiff’s Motion for Leave to File Plaintiff’s First

 Amended Complaint exists.

                                           CONCLUSION

         Based on the foregoing, this Court should grant Plaintiff leave to amend her Complaint to

 add additional causes of action under 42 U.S.C. § 1983.




                                                  18
 4895-5949-2654.v2
Case 1:20-cv-00048-HCN-DAO Document 65 Filed 08/25/22 PageID.482 Page 21 of 21




         DATED this 25th day of August, 2022.

                                                        PARSONS BEHLE & LATIMER

                                                        /s/ Michael W. Young
                                                        Michael W. Young
                                                        Lauren Hunt
                                                        Attorneys for Plaintiff




                                    CERTIFICATE OF SERVICE

         I hereby certify that on August 25th, 2022, I caused a true and correct copy of the foregoing

 to be filed using the Court’s electronic filing system, which effectuated service of such filing upon

 all counsel of record:

                     KYLE J. KAISER (13924)
                     Assistant Utah Attorney General
                     SEAN D. REYES (7969)
                     Utah Attorney General
                     160 East 300 South, Sixth Floor
                     P.O. Box 140856
                     Salt Lake City, Utah 84114-0856
                     Telephone: (801) 366-0100
                     E-mail: kkaiser@agutah.gov


                                                /s/ Michael W. Young




                                                   19
 4895-5949-2654.v2
